Case 1:19-cv-00027-PLM-RSK ECF No. 1-1 filed 01/11/19 PagelD.5 Page 1 of 13

EXHIBIT A
 

 

 

 

 

 

 

 

‘ _ Gase 1:19-cv-00027-PLM-RSK ECF No. 1-1 filed 01/11/19 PagelD.6 irege. 2 of 13
yet | ECT 3 20
~ Original - ~ Court 2nd copy - Plaintiff
Approved! SCAC . ist copy - Defendant 3rd copy - Return “any s 7 iy
STATE OF MICHIGAN | CASE NO.
JUDICIAL DISTRICT : tos
37th JUDICIAL CIRCUIT SUMMONS 3 2,
COUNTY PROBATE JOHN LA | APY 61D FA % 7e)
Court addréss WOITk a koe | Court tetephone no.
161E Michigan Ave., Battel Creek, MI 49014 269-969-6518
Plaintiffs name(s), address(es), and telephone no(s), Defendant's name(s), address(es), and telephone no(s).
Linda Aspinall, and ! Menard, Inc.
Donald Aspinatl v

 

Plaintiff's jae bar no., address, and telephone no.
John T. Alexander (P43789)

30206 Telegraph Road, Suite 400

Bingham Farms, Michigan 48025

(248) 290-5600

|

Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk
along with your complaint and, if necessary, a case inventory addendum (form MC 21). The summons section will be completed

by the court clerk.

 

 

 

 

 

 

Domestic Relations Case

(7 Therelare no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
family{members of the person(s) who are the subject of the complaint.

() Therelis one or more pending or resolved cases within! the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the complaint. Attached is a completed case inventory
{form Mic 21) listing those cases.

LJ tt is unknown if there are pending or resolved cases within the jurisdiction of the famity division of the circuit court involving
the family or family members of the person(s) who are ithe subject of the complaint.

Civil Case :

CJ This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.

] (Z] Therel is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
complaint.

(1A civillaction between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

Court, where

 

been vey fiedin (this court, ©

 

"it was!

The action Clremains Lis no longer pending.

Summons section completed by court clerk,

|
|
given case number________________ and assigned to Judge
|
!
1
}

NOTICE, TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:

1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to fite a written answer with the court and

servela copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were

served outside this state).
3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief

demanded in the complaint.
4, lfyourequire special accommodations to use the court because of a disability or if you require a foreign language interpreter
to he| you fully participate in court proceedings, please contact the court immediately fo make arrangements.

|
a xl wae i IQ : cee ANNE B. NORLANDER

“*This sanynons invaild unless served on or before‘ils expiration date. This document must be sealed by the seal of the court.
mco1 @is) SUMMONS MICR 1.109(D), MCR 2.102(B), MCR 2,104, MCR 2.108

 

 

 

 

 

 

 
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Case 1:19-cv-00027-PLM-RSK ECF No. 1-1 filed 01/11/19 PagelD.7 Page 3 of 13

 

—e SUMMONS
\

PROOF OF SERVICE Case No, 2018-NO

TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
of expiration on the order for second summons. You must make and file your return with the court clerk. If you are unable to
complete service you must return this original and all copies to the court clerk.

 

 

 

 

1 | CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE |

 

 

 

| Lj OFFICER CERTIFICATE OR (1 AFFIDAVIT OF PROCESS SERVER
| certify that tam a sheriff, deputy sheriff, bailiff, appointed Being first duly sworn, | state that | am a legally competent
court offi cer, or attorney for a party (MCR 2.104{A][2]), adult who fs not a party or an officer of a corporate party,
and that: rte not required) and that: (notarization required)

 

Ch served personally a copy of the summons and complaint.
Pa served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,

together with —__IME Pir Ont = Cir C~ NOTIC
| List all documents served with the summons and complaint

 

 

on the defendant(s):

 

 

Defendant's name Complete address (es) of service Day, date, time
}

 

 

 

 

 

 

 

 

Chihave personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s)
and have been unable to complete service,

 

Defendant's name Compiete addrass(es) of service Day, date, time

 

 

 

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I deciare under the penalties of perjury that this proof of service has been examined by me and that its contents are true to the
best of my information, knowledge, anc betief.

 

 

 

 

 

 

 

 

 

 

 

 

Service fag Miles traveled Fee Signature
$ |s
Incorract address fee | Miles traveled Fee TOTAL FEE Name (lype or print)
$ [s $
Title
Subscribed and sworn to before me on Sa : County, Michigan.
My commission expires: .. Signature: .
‘ Date Deputy court clerk/Notary public

 

t
Notary public, State of Michigan, County of

 

.| ACKNOWLEDGMENT OF SERVICE|
1 acknowledge that | have received service of the summons and complaint, together with
|

 

Aitachments

 

on
Day, date, time

! on behaif of
Signature ,

 

 
30200 TELEGRAPH ROAD, SUITE 400

BINGHAM FARMS, MI 48025-4506

P: 248.290.5600

 

—— ATTORNEYS AND -GCOUNSELORS———--

 

Gate 1:19-cv- 00027-PLM-RSK ECF No. 1-1 filed 01/11/19 PagelD 8 Page 40

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£13 0g

STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF CALHOUN

LINDA ASPINALL, and
DONALD ASPINALL |

Plaintiffs, Case RNB 33 #0

os aol HN HALLACY

MENARD, INC.,

Defendant.

]
JOHN T. ALEXANDER (P43789)
Alexander & Angelas, P.C. ‘
Attorneys for Plaintiffs
30200 Telegraph Road, Suite 400 +
Bingham Farms, Michigan 48025-4506
(248) 290-5600 / Fax (248) 290-5800

john@alexanderandangelas.com |
t

1
There is no other civil action between these parties arising out of
the same transaction or occurrence as alleged in this Complaint
pending in this Court nor has any such action previously been
filed and dismissed or transferred after having been assigned to a
Judge.

COMPLAINT AND DEMAND FOR JORY TRIAL

o

through their attorneys, Law Offices of Alexander & Angelas, P.C., complaining against the

above-named Defendant, Menard, Ine. and states as follows:

COMMON ALLEGATIONS

 

1. That Plaintiffs, Linda Aspinall and Donald Aspinall, are residents in City of

Hastings, County of Barry, State of Michigan.
|

 

 

NOW COME the above-named Plaintiffs, Linda Aspinall and Donald Aspinall, by and | _

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Cage 1:19-cv-00027-PLM-RSK ECF No. 1-1 filed 01/11/19 PagelD.9 Page 5 of 13
;

2. That Defendant, Ménard, Inc., has its principal place of business and/or
conducts business in the City of Battle Creek, County of Calhoun, State of Michigan.

3. That the incident oceprred in the City of Battle Creek, County of Calhoun, State
of Michigan.

4, That the amount in controversy exceeds twenty-five thousand dollars
($25,000.00) exclusive of costs, interest, and attorney fees,

COUNT 1— PREMISES LIABILITY

5. That on or about November 25, 2016, Plaintiff, Linda Aspinall, was a business
invitee of Defendant.

6. That on or about sail date at said time, Defendant was in possession of or in
control of the premises where the Pihinttt was injured as described herein.

7. That on or about seid date at said time, Defendant’s premises were open to the

general public, and the general public was invited to its premises.

8. That on above mentioned date, it was a “Black Friday” shopping day at
'

P: 248.290.5600

Defendant’s premises and it was expected and foreseeable to have a high volume of shoppers.
i

BINGHAM FARMS, MI 48025-4506

9. That Defendant knew that many of the customers were using garbage cans as
{

30200 TELEGRAPH ROAD, SUITE 400

shopping carts.
10. That despite this knowledge, Defendant placed the extra stock of garbage cans

on an elevated shelf. i

 

Non

11, That there were no garbage cans on the ground floor as they were all being used

by customers as shopping carts. |

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12, That Plaintiff was interested in purchasing a garbage can and asked staff to get

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one down for her.

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——-—- ATTORNEYS .AND.COUNSELORS

 
Cas} 1:19-cv-00027-PLM-RSK ECF No. 1-1 filed 01/11/19 PagelD.10 Page 6 df 13

13. That the staff disappeared for at least fifteen minutes in search of a ladder to get
a garbage can for the Plaintiff. :

14. That during that time a customer came to the area and wanted one of the garbage
cans that were on the elevated shelf to use as a shopping cart and used a broom handle to knock
the garbage can down which landed'on the Plaintiff severely injuring her.

15. That when Plaintiff was injured at Defendant's premises, Plaintiff was without
any knowledge of the dangerous and unsafe condition of its premises.

16. That on or about said date at said time, Defendant, its agents, servants, and/or

employees owed duties to Plaintifts to maintain its premises as a reasonably prudent person

wotild do under same or similar circumstances, and in accordance with the common law in such

8
a 8 case made and provided, but violated said duties in at least one or more of the following
Es
= }
B x ° particulars, so far as it is presently known:
gaa 6 ‘
zt -_ as «as
fe 3 8 a, after knowing of the dangerous and hazardous conditions existing on
Lg 8 Defendant's premises, failed to correct same and/or warn of the
< = o dangerous condition;
Gx ow . ;
Wes a b. failed to make reasonable and proper inspections for dangerous and/or
es hazardous conditions existing on Defendant's premises;
ome) :
oF
9 a Cc. failed to repair and/or correct and/or warn of any hazardous, and/or

dangerous conditions, of which the Defendant, its agents, servants,
and/or employees had knowledge, or should have had knowledge, by a
reasonable and proper inspection;

d. failed to instruct all of its agents, servants and/or employees on the
proper care and maintenance of its premises, and/or in the reporting of
dangerous and/or hazardous conditions on Defendant's premises;

 

cen

< é. failed to. provide rules, procedures for periodic safety inspections for the
ie discovery and/or correction of dangerous and hazardous conditions on
Z Defendant’s premises;

See

|
£ failed to provide a safe and suitable place for Plaintiff, Defendant's
invitee, to walk in safety;
|

 

 

 

 

—___- ATTORNEYS. AND.COUNSELORS.
asf 1:19-cv-00027-PLM-RSK ECF No. 1-1 filed 01/11/19 PagelD.11 Page 7 $f 13

g. failed to construct Defendant's premises in a manner suitable and safe
under the circumstances;

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h. that the Defendant negligently, carelessly and recklessly maintained the
premises in a dangerous condition, and,

i. other acts of negligence revealed by discovery.

17, + That on said date, a dangerous and hazardous condition existed at Defendant’s
premises, to wit: placing garbage cans, which were being used by customers as shopping carts,
on an elevated shelf knowing that customers would attempt to get them down.

18. = That Plaintiff sustaied personal injuries as a direct and proximate result of
Defendant's negligence as alleged herein,

19. That as a direct and proximate result of the negligence of Defendant, as

g
<8 aforesaid, the injured Plaintiff:
Et
a i a. sustained severe bodily injuries which were painful, disabling and
a 8 8 necessitated medical care;
Oz ;
* = 5 b suffered shock and emotional damage;
ah S q |
§ < 3 c. possibly aggravated pre-existing conditions and/or dormant conditions;
te & i
a Z d. was unable to attend to her usual affairs or render services as formerly;
°o§ :
oF ;
8 a &. lost the enjoyments of pursuing a normal life; and,
f suffered a loss of past, present and future earnings and/or earning
potential.

|
20. That as a direct and proximate result of the negligence of Defendant and the

resulting injuries to Plaintiff, Plaintiff will incur past, present and future expenses for hospitals,
|
doctors, x-rays, medicines, medical supplies and attention.
COUNT If— ORDINARY NEGLIGENCE

Plaintiff reallege and incorporate by reference herein paragraphs 1 through 20 above as
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though more fully set forth herein.

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ATTORNEYS AND COUNSELORS

 

 

 

 

 
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21. That Defendant has a:common law duty of due care to the Plaintiff,

22. That as stated supra, Plaintiff was injured on a “Black Friday” shopping day that

had a high volume of customers. ;
|
23, That on this particular occasion, and on prior occasions, it was well known that

customers used the garbage cans as shopping carts for their shopping.

24. That by placing garbage cans on an elevated shelf, it was foreseeable that
i
customers would attempt to access them for use as shopping carts creating a dangerous

condition to its customers. 1

25. That Defendant was: well aware of the fact that customers would attempt to

access its garbage cans located on thie shelves thereby potentially causing an injury to one of its
i
customers. ;

26. That as a proximate tesult of Defendant’s negligence, Plaintiff suffered injuries

as stated supra,

;
COUNT DL - CONSORTIUM

Plaintiff realleges and incorporates by reference herein paragraphs 1 through 26 above

as though more fully set forth herein.
|

30200 TELEGRAPH ROAD, SUITE 400
BINGHAM FARMS, MI 48025-4506
P: 248.280.5600

27. That at all pertinent times hereto, the Plaintiff, Donald Aspinall, was the spouse
of the Plaintiff, Linda Aspinall.
28. That as a direct and proximate result of the negligence alleged herein, Plaintiff,

Donald Aspinall, was damaged by the loss of services, society, affection, advise, consortium,

 

and earnings by reason of the injuries to his spouse.

29. That as a direct and proximate result of the negligence alleged herein, Plaintiff,

Donald Aspinall, has expended or became liable for the payment of money for medical

supplies, medical attention, and other expenses.

 

 

 

 

——_—_—_ATTORNEYS.AND.COUNSELORS.
Cask 1:19-cv-00027-PLM-RSK -ECF No. 1-1 filed 01/11/19 PagelD.13 Page 9 qf 13

|
WHEREFORE, Plaintiffs, Linda Aspinall and Donald Aspinall, pray that this Court
grant judgment against Defendant, Menard, Inc., m an amount in excess of twenty five
thousand dollars ($25,000.00) together with an assessment of exemplary damages, costs,

interest and attorney fees as allowed, by law.

Respectfully submitted,
Law Offices of
ALEXAN NGELAS, P.C.

   

By: a...
JOHN T. ALEXANDER (P43789)
Attorney for Plaintiffs

30200 Telegraph Road, Suite 400
Bingham Farms, MI 48025

(248) 290-5600

DATED: November 29, 2018 |

DEMAND FOR JURY TRIAL
NOW COME the above-nanied Plaintiffs, Linda Aspinall and Donald Aspinall, by and

through their attorneys, ALEXANDER & ANGELAS, P.C., and hereby make formal demand

 

30200 TELEGRAPH ROAD, SUITE 400
BINGHAM FARMS, MI 48025-4506
P: 248.290.5600

for a trial by jury of the facts and issues involved in this action.
Respectfully submitted,

Law Offices of
ALE

   

    

   

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IOHN-P-ALEXANDER (P43789)
Attorney for Plaintiffs

30200 Telegraph Road, Suite 400
Bingham Farms, MI 48025

(248) 290-5600

NGELA

ie rekon S

DATED: November 29, 2018

__ ATTORNEYS AND COUNSELO:

 

 

 
Cabe 1:19-cv-00027-PLM-RSK - ECF No. 1-1 filed 01/11/19 PagelD. 14 Pabge 49 fig

 

 

ae OFFICE OF COURT ADMINISTRATOR / FRIEND OF THE COURT B57 -
“THIRTY-SEVENTH JUDICIAL CIRCUIT. OF MICHIGAN
CALHOUN COUNTY PROBATE COURT
KRISTEN L, GETTING ; _ 7°’ MEGAN A. REYNOLDS ‘
Cirenit/ Probate Court Administrator! : "Chief Deputy Circuit Court Administrator!
Friend of the Court Deputy Friend of the Court
(269) 969-6523
CINDY K. RUDE
MICHAEL L. JACONETTE Probate Manager! Register
Chief Judge (269) 969-6794
. " MEDIATION 1/1/2018
CIVIL

The|37" Judicial Circuit Court of Calhoun County ispleased to announce that mediation is now available. The
judge assigned to your case believes that mediation i isa valuable tool in resolving disputes, and you are invited
to submit your case to mediation. —

 

Mediation i is a settlement process in which a trained mediator (an impartial person) helps people in conflict
make practical, informed decisions to resolve issues before them, The mediator helps people examine their
situation in terms of their interests and needs by asking questions, helping define issues and promoting open
communication designed to assist in generating-alternative proposalsand solutions,

Our court has a list of approved individuals who’ serve as trained mediators. : To be eligible to serve as a-
mediator, these individuals must meet certain education requirements and complete an approved training
program that includes.an internship of observing'dnd being observed as a trained mediator. !n addition,
mediators must complete eight hours of advanced'mediation training every two years to maintain eligibllity.

. . . . 1 .
Each approved mediator has been invited to provide the court with a brief biography which includes areas of -

practice anda fee schedule. A notebook containing:submitted biographies is available in the ADR Clerk's offi ice
if you wish to review this information before selecting a mediator.

The court encourages you to consider the use of ‘mediation as a means of resolving your dispute. Please
review the attached Information and be prepared ta discuss the use of mediation with the judge assigned to

yourjcase, |

If you have any questions or need additional information, please contact the ADR Clerk, Kim Furlong, at

(269} 969-6523 or e-mail to Murlong@calhouncountym gov

Thank you. |

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NOTE: The plaintiff must serve the defendant with a copy of this information at the time the summons and
complaint are served. i

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Calhoun County Justice Center
- 161 E, Michigan Ave.
Bate Creek; MI 49014-4066
The Court is an affirmative ation, equal-oppostunity employer.

 
Case 1:19-cv-00027-PLM-RSK: ECF No. 1-1 filed 01/11/19 PagelD.15 Page ttof13_

: {

37th Judicial Circuit court - Calhoun cotinty
CIVIL MEDIATORS
July 12, 2018

|

All metiiatars on this list have completed the necessary educational and training requirements
under Michigan Court Rule 2.411 and have been approved by the court to be appointed to
conduct mediation sessions. i

i

 

Please) make all arrangements, including term and conditions, through the mediator you
choose off this list. ‘

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Address Phone E-Mall Rate
Fracy L Allen 44 First Streat ‘ 386-979-6500 _ [tallen@mediate.com 1$425/hr
ypsis7a | Mt, Clemens, Ml 48043" 5A6-468-7016

Willlam M. Azkout ‘99 Manroe Ave NW, Ste 300 616-235-5500 winazkqul@granp.com S350/hour
P40073 Grand Rapids, Mi 49503 616-235-5550

Robert Fyfest 410 S. Jackson St. B27-707-2620 ast @hestlawnractice.com $275/hour
PLO768 | Jackson Mil 49204 SL 7-787-2811

tose T. Brown 503 S. Saginaw Street $10-232-3142 {brown @ceplawvers.com $250/hour
gP38926 Filnt, Mi 48502 810-232-1079 “
Michael J, Caywood 112 S. Monroe St / POS 7099 259-651-3281 }mike@hagscaywood.com }$235/hour
PS9908 . Sturels, MI 45092 269-651-3261

Stephen M. Oenenfeld 136 E, Michigan Ave. Ste.800 269.388.7600 {sdenenfald @jewlsallen.com $275/hour
fe Kalamazoo, Ml 49007 269,553-1439

Pamela C. Ensten 401 €. Michigan Ave., Ste 200 269-276-8112 pansten@wnt.com $300/hour
ion Kalamazoo, Mt 49007 263-276-8312

Byron P. Gallagher, Jr. 2001 Abbott Rd 517-859-1515 by llagher! '$200/hour
ree Gast Lansing, Ml 48823 (ses an

[ee D. Gell 395 S. Shore Dr., Ste, 308 269-968-2215 ftdgeli@hotmali.com . j$200/hour
P 13902 Battle Creek, Mi 49015 269-965-7157 .

Joshua S.|Goodrich S955 W. Maln St, 269-312-7435 — I Isgeodrich@nvhuse.com }5480/hour
a rey) Kalamazoo, M} 49009 646-356-7044

Peter D, Houk 124 West Allegan Street 517-482-5800 ouk@frasertawtirm,co $300/hour
P15155 Lansing, Ml48933 : SL7-482-0887

Dale Anniiverson JustMediation PLC 616-560-2248 Iver: ustmadiation.com . }($220/hour.
[pis PO Box 150156, GR Mi 49515 :

Jeannine &. Julien 7213 Pounds Court ple Sb2-2442 len@emall.co $175/hour
[eon Howell, Mi 43855

Ron W. Kimbret 151 S. Rose Street, Ste 900 269-381-8844 rkimbret@lennonmiller.com 175/hour
. 432786 Kalamazoo, Mi 49007 269-381-8822 ' .
Robb S, Krueger PO Box 4010 . 269-324-3000 —erKruener@krelsenderie.com '$300/hour
[ee Kalamazoo, Ml 49003-4010 269-324-3010 ,

 

 

 

 

 

 

James E, Lozier 215 S. Washington Sq, Ste 200 {517-487-4775 _llozleri@dickinsonwrlaht.co $285/hour
p2s3e4 Lansing, Mi 48933 517-487-4700

 

 
Case 1:19-cv-00027-PLM-RSK ECF No. 1-1 filed 01/11/19 PagelD.16 Page 12 of 13

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Paula K. Manis 2400 Lake Lansing Rd, Ste & 517-485-0400 pkmanis@loomislaw.com $295/hour
P2995 East Lansing MI 48922 527-372-4241

Witla K Murphy 149 N. Church St, Ste 202 269-342-9900 | willlamkmumhv@sbeetobal.net $250/hour
P31279 | Kalamazoo, MI 49007 269-942-0280 ;

Patricla M, Nemeth 200 Talon Centre Dr, Ste200 {223-567-8922 _pnemeth@nemethlawoccom $375/hour
P3700 , _|Detrott, Mi48207 313-567-5928 |

Thomas a, North 1387 N. State St., #11 306-643-6348 Hudaev@charter net '$100/hour
paagg0 St. Ignace, Mi 49781

Dennis N. Powers 2254 . Highland Rd. 248-826-8383 jdenol slaw, $300/hour
(rm Highland, Ml 48356 248-887-6455

Kevin J. Roragen 124 W. Allegan St #700 547-482-2400 roragen @loomislaw. cor $260/hour
{cr | Lansing, MI 48933 - 517-589-2619 sO

Mark A. Rysberg 49 Monroe Center NW, Ste 200 616-970-3783 Imyysbere@hilgeshammand.cam $200/hour
p74446 | Grand Raptds, MMi 49503 }298-863-7360 , 7

Phillip A. Schaedler 203 W. Maumee Street jsa7-263-2832 — ladratty@comcast.nat $200/hour
(sn Adrian, Mt 49224 517-263-2942 per hour
Kelth A. Schroeder 1410S. Jackson St. 517-787-2620 x3 {kschtoeder@bestlawpractice.com | $.150/hour
(a ‘ Jackson Ml 49201-2217 les-7araana

Keldon K.iScott 605 S, Capitat Ave 527-482-0222 —_|kstott@mcipe.com $275/hour
Keen | Lansing, MI48933 }517-482-9019

Daniel S, Stauffer P.O. Box 653 616-690-8750 a £0) $250/hour
[me Jenison, Mi 49429 | .

Brian D. Wassom 39400 Woodward Ave, Ste tor {248-566-8490 _|buassom@honieman.com TBD
Pé0333 Bloomfield Hills, Mi 48304 248-566-8492,

David M. Wells 110 W. Colby St. 231-894-5631  {DMWJIN@sal.com $230/hour
p26343. | Whitehall, Mi 49464 231-294-2012

[re HiWorsfold 2900 E, Beltline NE, Ste A 616-364-2900 fj oworsfold@bkypc.com [$280/hour
p2eoag Grand Rapids, MI 49525 646-364-2901 .

Robert Wright 77 Monroe Cts, Ste 507 616-682-7000 ob tks. $250/hour
ee ' - |Grand Rapids, Mt 49503 616-676-2772

 

 

 

 

 
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What is mediation?

Mediation allows people to meet
in a private setting where a neutral
person (a mediator}, helps them
work out a solution to their problems.

The mediator is not a judge, and
does not decide who is “right.” The
parties! themseives make the choices
that iead to a mutually satisfactory
settlement.

How does it work?

Each party describes the
dispute from his or her own point of
view and offers possible solutions,
The mediator helps the parties to
focus on the real issues causing the
problem, and then helps them to
find a workable solution. When the
parties arrive at an agreement, the
agreement Is put in writing.

How do | begin the process?

if you have an attorney, ask him
or her about mediating your case.
Your attormey can help you select a
mediator, of you may contact a
mediator or dispute resolution
center directly (please see the box
in the middie of this page). If the
other party also agrees to try
mediation, either the mediator or the
dispute resolution center will
schedule a mediation session.

Are there cases that should not
be mediated? :
While many problems can be
resolved in mediation, you can
discuss with your attorney or a
mediator whether or not the issues in
your case can be mediated. Cases
involving on-going domestic violence
should aimost never be mediated.

SCAO 6/2004

 

Mediation can help you resolve your
dispute without going to trial.

This court encourages parties to try to reach a resolution
of their dispute without a trial, either on their own, or
through mediation. Mediation helps parties find solutions
to their conflict and can be effective in general civil,
probate, or domestic retations/family conflicts.

 

What if parties don’t speak
English?

In many instances, bilingual
mediators, translators or signers can
be identified in cases where
language presents a barrier to
communication.

 

 

How to find a mediator

A list of mediators who meet training
qualifications established by the State
Court Administrative Office can be
obtained from the court, To obtain a
copy of the list, please call the court
and ask for the list of qualified
mediators.

The Michigan Supreme Court supports
@ network of Community Dispute
Resolution Program centers. These
centers provide tow cost mediation
services In many types of disputes. To
reach the center nearest you, call
1-800-8RESOLVE.

Additional information about mediation
can be found at the Michigan Supreme
Court website:
http://courts.michigan.gov/scao/dispute

 

 

How does mediation affect my
legal rights?

Whether or not you reach an
agreement in mediation, your legal
rights remain intact. You should
know your legal rights before
attending mediation. Mediators do
not offer legal advice, represent
parties, or testify at any subsequent
hearings that may result if you do not
resolve your case in mediation. You
are always free to retain the services
of an attorney to assist you.

Why try mediation?

It works. About 65% of all
mediations end in agreement,
even when other attempts to
settle have failed.

it's affordable. Pariles
generally agree to split the cost
of a mediator. Low cost
mediation fs available through
the Community Dispute
Resolution Program, and if you
cannot afford a mediator, you
may qualify for free mediation
services, Cases mediated eariy
may avold additional litigation
costs.

it’s quick, If conducted early,
mediation may resuit in
settlement far quicker than
waiting until near trial to settle,

it’s private. Almost everything
disclosed during mediation is
confidential and cannot be used
in a lawsuit.

is cooperative, not
adversarial, Mediation provides
a comfortable, safe and
respectful setting for discussion.
It is not combative as court
cases can become.

There’s nothing lost by trying!

 
